         Case 1:21-cr-00038-CRC Document 47 Filed 01/18/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 21-CR-38 (CRC)
               v.                            :
                                             :
RICHARD BARNETT,                             :
                                             :
                      Defendant.             :


    MOTION FOR AN ORDER TO DISCLOSE ITEMS PROTECTED BY FEDERAL
       RULE OF CRIMINAL PROCEDURE 6(e) AND SEALED MATERIALS

       The United States of America respectfully moves for entry by this Court of an order

permitting the disclosure in discovery of materials protected by Federal Rule of Criminal

Procedure 6(e). The United States also requests permission to provide in discovery sealed

materials, pursuant to the previously entered protective order governing discovery. Finally, the

United States requests that any order granting this motion be made applicable to co-defendants

who may later be joined.

       The United States attempted to confer with counsel for the defendant regarding this

motion but had received no response at the time of filing.




                                                 1
         Case 1:21-cr-00038-CRC Document 47 Filed 01/18/22 Page 2 of 2




       WHEREFORE, the United States respectfully requests an order authorizing the disclosure

in discovery of the materials described above.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar Number 481052


                                     By:                      /s/
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